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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  TIMOTHY P. NEUMANN, ESQ. [TN6429]
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  Civil Justice, Inc.
  In Re:                                                             Chapter 11

  AMERICAN CENTER FOR CIVIL JUSTICE, INC.,                           Case No.: 18-15691

                                Debtor.                              Judge: Christine M. Gravelle


                      REPLY TO OBJECTIONS TO DISCLOSURE STATEMENT

         Annexed hereto are an unsigned pro forma modified plan and modified disclosure statement

 (“Modified Plan Documents”). Two versions of each have been submitted, one with the changes

 highlighted and another without. These Modified Plan Documents are the Debtor’s attempt to

 accommodate the objections that have been filed in those instances in which the Debtor

 acknowledges that the objections are constructive. Also annexed are revenue and expenses

 projections that support Debtor’s view that it will have future earnings with which to make plan

 payments.

         While it is unrealistic to expect that these suggested revisions will resolve all objections in

 toto, it is hoped that they will at least reduce the issues to be discussed at the hearing.



                                                   Respectfully submitted,

                                                     /s/ Timothy P. Neumann
                                                         Timothy P. Neumann
